                                 Case 1:19-cv-00719-BKS-DJS Document 9 Filed 07/01/19 Page 1 of 1




                                                                                      P.nmrsor.¡ S¡,lrpsoN GrNssBnc & Grunrrx, PLLC
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Nfichael Iì. Ginsberg
Thomas E. Lavery

                                       Honorable Brenda K. Sannes
Donaltl J, Shanlcv
                                       US District Court
Rhiannon L Spencer'                    Northern District of New York
                                       James T. Foley U.S. Courthouse
                                       Suite 509
Dchvarcl II. Pâttison
(1fì9(r-19fì(r)                        445 Broadway
Stephcn II. Sampson
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\\¡illianl      . Connors
                                       Re     Doe v. Rensselaer Polytechnic Institute, et al
                                              Case No. lzl9-cv-719
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( 1 91 2 -1 99Íì)

Lambert L. (ìinsberg
(7928-2017\
                                       Dear Judge Sannes:

                                               This offrce represents Rensselaer Polytechnic Institute, et al with regard to
                                       the above referenced matter. Due to the upcoming holiday, our office respectfully
                                       requests an extension from July 5, 2019 to July 8, 2019 to file our Response to the
                                       Plaintiff s Order to Show Cause.

                                              Your courtesy in this regard would be greatly appreciated.

                                       Respectfully submitted,

                                       PATTISON, SAMPSON, GINSBERG & GRIFFIN, PLLC

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